Case 2:24-cv-01608-WSS   Document 37-10   Filed 02/14/25   Page 1 of 22




                         Exhibit 6
Case 2:24-cv-01608-WSS   Document 37-10   Filed 02/14/25   Page 2 of 22




                           2024 Products and Services
                          INMATE APPAREL

                                    PENNSYLVANIA
                         CORRECTIONAL INDUSTRIES




                                                     HOME OF


                                                                PRODUCTS
                Case 2:24-cv-01608-WSS          Document 37-10    Filed 02/14/25    Page 3 of 22




                                                                                   YOU WEAR
                                                                                     IT WELL
   Pennsylvania Correctional Industries trains inmates in every aspect of clothing
  manufacturing; From weaving of raw materials to sewing of the final product. In
        this Inmate Apparel catalog, you will find garments for all of your apparel
      requirements. Each item has been designed for practicality, durability and
        appearance. Unusual sizes and modifications are always available. The
     products located in this catalog section are all approved by DOC for inmate
      wear. Please contact our Customer Service Department with your special
              clothing requirements, to receive a price quote or to place an order.




All Pennsylvania Correctional Industries customers can
get assistance from a PCI Sales Representative or
Customer Service Representative. These individuals                 Pennsylvania Correctional Industries
provide detailed information on more than 2500 PCI                             P.O. Box 47
products and services and can help in selecting the best                    Camp Hill, PA 17001
solution for your business or organization, and can        Customer Service—717.425.7292 or 1.877.ORDER.CI
assist in placing orders. If you do not know your Sales    Fax—717.425.7291
Representative information, please use our Sales           Mail—To Above Address
contact information to the right.                          E-mail—pci@pa.gov
                                                           Web— www.cor.pa.gov/pci
Prices are subject to change without notice.
     Case 2:24-cv-01608-WSS                   Document 37-10          Filed 02/14/25         Page 4 of 22

                                            INMATE APPAREL

                  Coats and Jackets                                                   Sweat Clothes
Twill Work Jackets……..…………………...…..IA1                            Fleece Sweatshirt.…..………………………...IA12
Winter Corduroy Coat…………..…….....…….IA1                           DOC Fleece Sweatshirt.......………………….IA12
Inmate Release Jacket……..…….......…...…..IA1                      Fleece Sweat Pants…..…….…………………IA12
                                                                  Fleece Sweat Shorts......……………………..IA12
              Coveralls and Jumpsuits
                                                                                          T-Shirts
DOC Coveralls & Male Transport...…….……..IA2
Winter-Weight Twill Coveralls (RHU)…….….IA2                       Red DOC T-Shirts....………………...………..IA13
Summer-Weight Poplin Coveralls (RHU)……IA2                         Unisex Brown T-Shirt Undershirts…. ............IA13
DOC Quilt-Lined Coveralls.………………..…..IA2
Female Transport Separates…..…….…...…...IA3
Visiting Room Jumpsuits…...……………....….IA3                                            Undergarments
                                                                  Women’s Panties……………...……………....IA14
                           Jeans                                  Men’s Underwear…………...…………………IA14
                                                                  Men’s Boxer Briefs…………...……………….IA14
Hobby Jeans……....…….………………...…....IA4                             Men’s Long Johns…………...………………..IA15
Denim Jeans for Inmate Release…...……......IA4
                                                                                       Accessories
                 Pajamas and Gowns
                                                                  Baseball Caps………..……………….….……IA16
Poplin Patient Pajamas……………...…...…….IA5                          Ski Caps………………….…………………….IA16
Poplin Patient Gowns……..……....…………...IA5                          Scarves …….......…….………………….......IA16
Poplin Pajama Tops and Bottoms…..….….…IA5                         Handkerchiefs ..........……....…….…………..IA16
                                                                  Safety Vests ......................…….....…...........IA16
                         Raingear
Nylon Rain Jackets and Raincoats…..…….....IA6                                  Mental Health Population
                                                                  Unisex Hobby Jeans.....................................IA17
                         Smocks                                   Twill Work Shirts.............................…………IA17
Twill Kitchen Smock .......................................IA6    Patient Gowns .....…….………………….......IA17
                                                                  Two-Piece Pajamas..............…….…………..IA17

                       Work Shirts
Blue Chambray Work Shirts…...…...……….…IA7
Poplin Work Shirts..…….…..…………………..IA8
Twill Work Shirts………....…….………………IA9

                           Shoes
Men’s Leather High-Top Work Boots.....…..IA10
Women’s Oxford Shoes.....………………….IA10
Shoe Laces.......….........................................IA11
Cushioned Sole Inserts ……....…….……..…IA11


                           Socks
Terry Socks…...………………………………..IA11
Tube Socks......………………………………..IA11
Anklet Tube Socks......………………………..IA11
              Case 2:24-cv-01608-WSS               Document 37-10             Filed 02/14/25            Page 5 of 22
                                            MALE and FEMALE TWILL WORK JACKETS
               These unlined, single breasted work jackets are made out of a Cotton/Polyester Twill blend and feature a
               tailored collar, button down front, three pockets and DOC on the back. Approved for Inmate Wear.
               Available for men in Cocoa Brown and Gray. Available for women in Cocoa Brown only.


                                          COCOA BROWN              GRAY                        COCOA BROWN
                                 MALE                                               FEMALE
                                           MM #     PRICE    MM #          PRICE                 MM #     PRICE
                                 SIZE                                                 SIZE
                                  N/A        -          -      -             -       X-Small    315002    $23.72
                                  Small   312744    $21.05   312749        $19.07     Small     315003    $23.72
                                Medium    312745    $21.44   312750        $19.37    Medium     315004    $23.72
                                  Large   312746    $22.21   312751        $19.90     Large     315005    $23.72
                                X-Large   312747    $22.68   312752        $20.27    X-Large    315006    $23.72
                                   2X     200474    $22.74   312753        $20.47      2X       315007    $24.65
                                   3X     200473    $22.98   312754        $20.65      3X       315008    $24.65
                                   4X     312748    $23.56   312755        $21.09      4X       315009    $24.65
                                   5X     200231    $24.29   312756        $21.48      5X       315010    $26.11
                                   6X     314557    $24.81   312757        $21.88      6X       340038    $28.36
                                   7X     243149    $25.33   312758        $22.27      7X       340039    $28.36
                                  N/A        -          -      -             -         8X       340040    $29.91

                                                 UNISEX WINTER CORDUROY COAT
             This single breasted winter corduroy coat is lined with Thinsulate and features a button down front, fold
             down collar, two inverted side pockets and DOC on the back. Approved for Inmate Wear. Available in Gray
             or Cocoa Brown.
                                                                      GRAY                     COCOA BROWN
                                                    SIZE       MM #              PRICE         MM #        PRICE
                                                    Small     312432             $42.21        312426      $45.22
                                                   Medium     312433             $43.50        312427      $46.95
                                                    Large     312434             $44.45        312428      $47.63
                                                   X-Large    312435             $45.16        312429      $48.60
                                                     2X       312436             $47.82        200508      $51.53
                                                     3X       312437             $48.41        200491      $50.71
                                                     4X       312438             $49.25        200479      $53.25
                                                     5X       312439             $50.10        200230      $54.29
                                                     6X       312440             $50.99        312430      $55.33
                                                     7X       312441             $51.89        312431      $56.39

       UNISEX INMATE RELEASE JACKET
 Denim jacket made of Blue denim with a quilt lining.              SIZE              MM #        PRICE
 For use as Inmate Release clothing.
                                                                   Small            312735       $62.34
                                                               Medium               312736       $61.59
                                                                   Large            312737       $62.65
                                                               X-Large              312738       $63.35
                                                                    2X              312739       $65.04
                                                                    3X              312740       $65.96
                                                                    4X              312741       $66.91
                                                                    5X              312742       $70.12
                                                                    6X              312743       $71.13




IA1                                                                “Teaching Inmates to Work in Pennsylvania”
                Case 2:24-cv-01608-WSS               Document 37-10            Filed 02/14/25        Page 6 of 22
                                           DOC TWILL COVERALLS
These Cotton/Polyester blend Twill coveralls feature a button closure and long sleeves with DOC printed on the
back. Available in White, Light Gray, Cocoa Brown or Transportation Gold. The Transportation Gold coveralls
also have the 3 letter institution initials printed on the back. All twill coveralls are approved for Inmate Wear.

                      WHITE                 LIGHT GRAY                COCOA BROWN          TRANSPORTATION GOLD

     SIZE         MM #        PRICE         MM #        PRICE         MM #        PRICE         MM #         PRICE
     Small       312641       $43.09       312624       $44.85        312614      $56.28        312632       $43.59
    Medium       312642       $43.09       312625       $44.85        312615      $56.28        312633       $43.59
     Large       312643       $43.09       312626       $44.85        312616      $56.28        312634       $43.59
    X-Large      312644       $43.09       312627       $44.85        312617      $56.28        312635       $43.59
       2X        312645       $44.12       312628       $39.62        312618      $58.97        312636       $44.71
       3X        312646       $44.12       312629       $46.11        312619      $58.97        312637       $44.71
       4X        312647       $44.12       312630       $46.11        312620      $58.97        312638       $44.71
       5X        312648       $46.66       312631       $49.22        312621      $65.52        312639       $47.44
       6X        340265       $46.66       340246       $49.75        312622      $66.27        312640       $47.76
       7X        340266       $47.25       340247       $50.00        312623      $67.62        340256       $48.00
       8X        340267       $47.25       340248       $50.00        340238      $67.62        340257       $48.00
       9X        340268       $48.00       340249       $52.00        340239      $68.50        340258       $49.00
      10X        340269       $48.00       340250       $52.00        340240      $68.50        340259       $49.00
   WINTER-WEIGHT TWILL COVERALLS (RHU)                               SUMMER-WEIGHT POPLIN COVERALLS (RHU)
   Made of Twill, these coveralls are great for winter will      Made of Poplin, these coveralls are light-weight for summer
   and feature button closures along with ¾ length               wear and feature button closures and ¾ length sleeves.
   sleeves. Available in Orange only with DOC printed            Available in Orange only with DOC printed on the back.
   on the back. These coveralls are approved for RHU             These coveralls are approved for RHU inmates.
   inmates.

       SIZE          MM #        PRICE                                      SIZE        MM #        PRICE
       Small        312452       $48.74                                     Small      312461       $43.27
      Medium        312453       $48.74                                    Medium      312462       $43.27
       Large        312454       $48.74                                     Large      312463       $43.27
      X-Large       312455       $48.74                                    X-Large     312464       $43.27
        2X          312456       $62.51                                       2X       312465       $44.35
        3X          312457       $62.51                                       3X       312466       $44.35
        4X          312458       $62.51                                       4X       312467       $44.35
        5X          312459       $70.07                                       5X       312468       $46.99
        6X          312460       $70.07                                       6X       312469       $47.29
        7X          340229       $71.00                                       7X       340201       $47.29
        8X          340230       $71.00                                       8X       340202       $48.00
        9X          340231       $72.00                                       9X       340203       $48.00
        10X         340232       $72.00                                      10X       340438       $48.00


       DOC QUILT-LINED COVERALLS                                          GRAY              COCOA BROWN
                                                        SIZE          MM #       PRICE       MM #        PRICE
   Twill coveralls feature long sleeves, a
   quilted lining and zipper closure, with              Small        339949      $85.71     312649       $88.75
   DOC printed on the back and no hood.                Medium        312660      $85.71     312650       $88.75
   Approved for Inmate Wear. Available in               Large        312661      $85.71     312651       $88.75
   Gray or Cocoa Brown.
                                                       X-Large       312662      $85.71     312652       $88.75
                                                         2X          312663      $88.23     312653       $91.06
                                                         3X          312664      $88.23     312654       $91.06
                                                         4X          312665      $88.23     312655       $91.06
                                                         5X          312666      $97.05     312657       $99.69
                                                         6X          312667      $97.05     312656       $99.69
                                                         7X          312668      $97.05     312658       $99.69
                                                         8X          338274      $97.05     338273       $99.69


1-877-ORDER-CI                                 www.cor.pa.gov/pci                                                              IA2
      Case 2:24-cv-01608-WSS                  Document 37-10         Filed 02/14/25      Page 7 of 22
                                              FEMALE TRANSPORT SEPARATES
       Two-piece top and bottom Female transportation sets are made of a Cotton/Polyester Twill material.
       The pullover top features a scoop neck with long or short sleeves. The bottoms feature a full elastic
       waist. Transport separates are available in Transportation Gold only, with DOC and 3 letter institution
       letters printed on the back of the pullover top.

                            LONG SLEEVES              SHORT SLEEVES
           SIZE             MM #       PRICE         MM #            PRICE
           Small            312820     $43.45       312828           $43.45
          Medium            312821     $43.47       312829           $43.47
           Large            312822     $43.49       312830           $43.49
          X-Large           312823     $43.52       312831           $43.52
            2X              312824     $44.66       312832           $44.66
            3X              312825     $44.68       312833           $44.68
            4X              312826     $44.71       312834           $44.71
            5X              312827     $46.80       312835           $47.46


                                                                              SIZE        MM #          PRICE
                          FEMALE RHU SEPARATES
                                                                              Small       348838         $45.69
        Two-piece top and bottom Female RHU sets are made                  Medium         348839         $45.72
        of a Cotton/Polyester Twill material. The pullover top
        features a scoop neck with 3/4” sleeves. The bottoms                  Large       348840         $45.74
        feature a full elastic waist. Available in orange only and         X-Large        348841         $45.76
        have DOC on the back. These are approved for RHU
        inmates.                                                               2X         348842         $48.88
                                                                               3X         348843         $48.91
                                                                               4X         348844         $48.93
                                                                               5X         348845         $56.51
                                                                               6X         348848         $60.10

                    SIZE             MM #         PRICE
                    Small            312810       $28.28
                   Medium            312811       $28.70
                                                                              VISITING ROOM JUMPSUITS
                    Large            312812       $28.94      Visiting room jumpsuits are made of 4¼-ounce,
                                                              Cocoa Brown, Cotton/Polyester blend Poplin and
                   X-Large           312813       $29.24      feature short sleeves with a yellow arm band, full elastic
                     2X              312814       $29.64      waistband, no pockets, a finished collar, 20” brass zipper
                                                              and DOC printed on the back. These jumpsuits are ap-
                     3X              312815       $29.99      proved for Inmate Wear.
                     4X              312816       $30.16
                     5X              312817       $30.33
                     6X              312818       $30.52
                     7X              312819       $30.73
                     8X              339969       $31.02
                     9X              339970       $31.16
                    10X              339971       $31.55
                    11X              339972       $31.77
                    12X              339973       $31.96
                    13X              341931       $332.47
                    14X              341932       $32.85
                    15X              341933       $33.25
                    16X              341934       $33.65
                    17X              341935       $34.44


IA3                                                          “Teaching Inmates to Work in Pennsylvania”
                Case 2:24-cv-01608-WSS               Document 37-10         Filed 02/14/25         Page 8 of 22
                                              MALE HOBBY JEANS
These Cotton/Polyester Twill hobby jeans feature a half-elastic waist and a button fly. Hobby jeans are available in
White, Navy Blue (Reception), Cocoa Brown (General Population), Royal Blue (MHU*) and Gray (Outside Service
Unit). *To include SRTU, SAU, SOU, POC and MHU inmates.

                 WHITE             NAVY BLUE          COCOA BROWN             ROYAL BLUE               GRAY

   SIZE      MM #      PRICE      MM #     PRICE      MM #       PRICE       MM #       PRICE       MM #    PRICE

   Small    291120     $15.60    312800    $14.32     312791     $20.54     340021      $15.13     291119   $16.44
  Medium    291110     $15.60    312801    $14.32     312792     $20.54     340020      $15.13     291090   $16.44
   Large    291111     $15.60    312802    $14.32     312793     $20.54     340019      $15.13     291091   $16.44
  X-Large   291112     $15.60    312803    $14.32     312794     $20.54     340022      $15.13     291092   $16.44
    2X      291113     $16.68    312804    $17.47     312795     $23.23     340011      $15.29     291093   $16.94
    3X      291114     $16.68    312805    $17.47     312796     $23.23     340012      $15.29     291094   $16.94
    4X      291115     $16.68    312806    $17.47     312797     $23.23     340013      $15.29     291095   $16.94
    5X      291116     $17.49    312807    $18.46     291118     $25.21     340014      $15.65     291096   $17.31
    6X      291117     $17.70    312808    $18.60     312798     $25.64     340015      $15.65     340309   $17.37
    7X      338977     $17.84    312809    $18.75     312799     $25.91     340016      $15.65     340310   $17.42
    8X      338978     $18.05    338974    $19.13     321174     $26.00     340017      $15.65     340311   $17.51
     9X     338979     $18.36    338975    $19.50     321175     $26.10     340018      $15.65     340312   $17.66
    10X     338976     $18.68    338973    $19.87     338972     $26.20     340010      $15.65     340313   $17.80


                                             FEMALE HOBBY JEANS
  These Cotton/Polyester Twill hobby jeans feature a full elastic waist. Hobby jeans are available in White, Navy
  Blue (Reception), and Cocoa Brown (General Population).

                                               WHITE               NAVY BLUE          COCOA BROWN
                                  SIZE      MM #   PRICE          MM #   PRICE        MM #   PRICE
                                  Small     338314     $13.99    338306    $14.28    312783   $14.84
                                 Medium     338313     $13.99    338305    $14.28    312784   $14.84
                                  Large     338312     $13.99    338304    $14.28    312785   $14.84
                                 X-Large    338315     $13.99    338307    $14.28    312786   $14.84
                                    2X      338308     $14.37    338300    $14.78    312787   $16.00
                                    3X      338309     $14.37    338301    $14.78    312788   $16.00
                                    4X      338310     $14.37    338302    $14.78    312789   $16.00
                                    5X      338311     $14.94    338303    $15.90    312790   $16.81
                                    6X      340047     $14.94    340044    $15.90    340041   $16.81
                                    7X      340048     $14.94    340045    $15.90    340042   $16.81
                                    8X      340049     $14.94    340046    $15.90    340043   $18.71


                                                                  SIZE        MM #        PRICE
                         DENIM JEANS                              Small      312769       $18.92
      These jeans are made of Blue denim and feature a           Medium      312770       $19.87
      half-elastic waist, button fly, and one rear pocket.        Large      312771       $20.78
      These jeans are approved for Inmate Release
      Wear.                                                      X-Large     312772       $21.72
                                                                    2X       312773       $22.66
                                                                    3X       312774       $23.92
                                                                    4X       312775       $24.17
                                                                    5X       339967       $24.41
                                                                    6X       339968       $25.17
                                                                    7X       341930       $26.09

1-877-ORDER-CI                               www.cor.pa.gov/pci                                                        IA4
              Case 2:24-cv-01608-WSS                 Document 37-10          Filed 02/14/25         Page 9 of 22
                                                          POPLIN PATIENT PAJAMAS
           This Cotton/Polyester, summer-weight Poplin pajama set features tops with long or short sleeves and elastic
           waist pants. Pajamas are available in Jade Green or Royal Blue with DOC on the back. Pajamas are approved
           for Inmate Wear.


                                    JADE GREEN               JADE GREEN          ROAYL BLUE               ROAYL BLUE
                                LONG SLEEVES              SHORT SLEEVES         LONG SLEEVES             SHORT SLEEVES
                    SIZE        MM #        PRICE         MM #      PRICE      MM #        PRICE        MM #            PRICE
                  Small        312877       $26.98        312884    $25.45    312891       $25.67      312898           $27.08

                 Medium        312878       $26.98        312885    $25.45    312892       $25.67      312899           $27.08

                  Large        312879       $26.98        312886    $25.45    312893       $25.67      312900           $27.08

                 X-Large       312880       $26.98        312887    $25.45    312894       $25.67      312901           $27.08

                     2X        312881       $30.16        312888    $28.64    312895       $26.96      312902           $28.61
                     3X        312882       $30.16        312889    $28.64    312896       $26.96      312903           $28.61
                     4X        312883       $30.16        312890    $28.64    312897       $26.96      312904           $28.61



                                                      POPLIN V-NECK PATIENT GOWNS
             This pullover, knee-length gown is made from Cotton/Polyester Poplin and features short sleeves and a V-neck.
             Available in Jade Green or Royal Blue, with DOC on the back. These gowns are approved for Inmate Wear.


                                                   JADE GREEN                            ROYAL BLUE
                               SIZE              MM #               PRICE               MM #             PRICE
                               Small             312704             $17.94              312711           $20.26
                              Medium             312705             $17.94              312712           $20.29

                               Large             312706             $17.99              312713           $20.34

                              X-Large            312707             $18.14              312714           $20.49

                                2X               312708             $19.21              312715           $21.58
                                3X               312709             $19.29              312716           $21.65
                                4X               312710             $19.49              312717           $21.86

                  POPLIN PAJAMA TOPS                                                 POPLIN PAJAMA BOTTOMS
These Cotton/Polyester Poplin pajama tops are available with          These Cotton/Polyester Poplin pajama bottoms are
either long or short sleeves. Available in Cocoa Brown only.          made with an elastic waist. Available in Cocoa Brown
Pajama tops are approved for Inmate Wear.                             only. Pajama bottoms are approved for Inmate Wear.


             LONG SLEEVES                SHORT SLEEVES                         SIZE           MM #             PRICE
  SIZE       MM #          PRICE        MM #         PRICE                     Small        312947             $10.20
  Small     312954         $10.30       312961       $9.30                    Medium        312948             $10.20
 Medium     312955         $10.30       312962       $9.30
                                                                               Large        312949             $10.20
  Large     312956         $10.30       312963       $9.30
                                                                              X-Large       312950             $10.20
 X-Large    312957         $10.30       312964       $9.30
                                                                                2X          312951             $11.38
   2X       312958         $10.35       312965       $10.35
                                                                                3X          312952             $11.38
   3X       312959         $10.35       312966       $10.35
                                                                                4X          312953             $11.38
   4X       312960         $10.35       312967       $10.35



IA5                                                                 “Teaching Inmates to Work in Pennsylvania”
              Case 2:24-cv-01608-WSS              Document 37-10          Filed 02/14/25       Page 10 of 22
                               NYLON RAIN JACKETS AND RAINCOATS
  The Nylon Rain Jacket is made of Yellow Nylon material with DOC on the back. This rain jacket is wa-
  ter repellent. The full-length raincoat is made of Yellow Nylon and is also water repellent with DOC
  printed on the back. Both items are approved for Inmate Wear.


                                  RAIN JACKET                    FULL-LENGTH RAINCOAT
               SIZE              MM #                PRICE             MM #           PRICE
               Small            295713               $57.39            295671         $64.46

              Medium            295714               $57.39            295672         $64.46

               Large            295715               $57.39            295673         $64.46
              X-Large           295716               $57.39            295674         $64.46
                2X              295717               $57.39            295675         $64.46
                3X              295718               $57.39            295676         $64.46

                4X              295719               $57.39            295677         $64.46




                                         TWILL KITCHEN SMOCK
   This new Kitchen smock is made of White Twill with 3/4” sleeves and a wrap tie closure to allow for
   size adjusting and comfort. These are calf length and have DOC imprinted on the back. Smocks are
   approved for Inmate Wear.


                                         SIZE                 MM #        PRICE
                                 Fits sizes S to X-Large      349478      $16.79
                                   Fits sizes 2X to 4X        349479      $18.43




1-877-ORDER-CI                             www.cor.pa.gov/pci                                                  IA6
         Case 2:24-cv-01608-WSS                 Document 37-10      Filed 02/14/25      Page 11 of 22
                                             MALE BLUE CHAMBRAY WORK SHIRTS
      The Male Blue Chambray work shirts are available with long or short sleeves. This style features a button down
      front and one pocket. Available for Inmate Wear, with DOC on the back, or for Inmate Release, without DOC on
      the back.


                                     LONG SLEEVES                                  SHORT SLEEVES
                            PLAIN                W/ DOC ON BACK            PLAIN               W/ DOC ON BACK
          SIZE        MM#           PRICE        MM #      PRICE       MM #        PRICE        MM #        PRICE

          Small      314043         $11.74       314057    $13.10     314049       $9.83       314063       $10.47
         Medium      314044         $11.74       314058    $13.10     314050       $10.03      314064       $10.67
          Large      314045         $11.74       314059    $13.10     314051       $10.22      314065       $10.86
         X-Large     314553         $11.74       207843    $13.10     314052       $10.43      314066       $11.05
           2X        314556         $12.41       208133    $13.74     314053       $10.81      314067       $11.10
           3X        314555         $12.41       208132    $13.74     314054       $10.81      314068       $11.56
           4X        314554         $12.41       208131    $13.74     314055       $10.81      314069       $11.56
           5X        314046         $13.59       314060    $14.24     314056       $11.55      314070       $12.20
           6X        314047         $13.92       314061    $14.90     340028       $12.75      340033       $12.41
           7X        314048         $14.77       314062    $15.42     340029       $12.77      340034       $12.53
           8X        340023         $15.15       338996    $15.80     340030       $13.00      340035       $12.67
           9X        340024         $15.31       340026    $15.96     340031       $13.28      340036       $12.83
          10X        340025         $15.49       340027    $16.14     340032       $13.75      340037       $13.32




                                            FEMALE BLUE CHAMBRAY WORK SHIRTS
      The Female Blue Chambray work shirts are available with long or short sleeves. This style features a button
      down front and one pocket with a straight cut hem. Available for Inmate Wear, with DOC on the back.


                                                 LONG SLEEVES         SHORT SLEEVES
                                                W/ DOC ON BACK        W/ DOC ON BACK
                                    SIZE         MM #      PRICE       MM #        PRICE

                                    Small        340063    $22.38     340074       $18.50
                                Medium           340064    $22.38     340075       $18.50
                                    Large        340065    $22.38     340076       $18.50
                                X-Large          340066    $22.38     340077       $18.50
                                     2X          340067    $23.14     340078       $19.12
                                     3X          340068    $23.14     340079       $19.12
                                     4X          340069    $23.14     340080       $19.12
                                     5X          340070    $25.02     340081       $19.44
                                     6X          340071    $25.02     340082       $19.44
                                     7X          340072    $25.02     340083       $19.44
                                     8X          340073    $25.02     340084       $19.44




IA7                                                          “Teaching Inmates to Work in Pennsylvania”
             Case 2:24-cv-01608-WSS              Document 37-10         Filed 02/14/25    Page 12 of 22
                                          POPLIN WORK SHIRTS
   A Cotton/Polyester Poplin shirt with a button-down front and one pocket. Available with long or short
   sleeves in Cocoa Brown only, with DOC on the back. Approved for Inmate Wear. Available in both Male
   and Female sizes.


                                                       MALE
                                        LONG SLEEVES               SHORT SLEEVES
                            SIZE         MM #        PRICE        MM #           PRICE
                           Small        314071       $13.38      314078          $11.38
                          Medium        314072       $13.38      314079          $11.63
                           Large        314073       $13.38      314080          $12.01
                          X-Large       200447       $13.38      314081          $12.14
                             2X         200458       $14.30      314082          $12.51
                             3X         200445       $14.30      314083          $12.64
                             4X         314074       $14.30      314084          $12.84
                             5X         314075       $15.91      314085          $13.78
                             6X         314076       $16.37      314086          $14.10
                             7X         314077       $17.53      314087          $14.32
                             8X         338998       $18.02      340315          $14.41
                             9X         338999       $18.25      340316          $14.83
                            10X         338997       $18.49      340317          $14.83



                                                      FEMALE
                                        LONG SLEEVES               SHORT SLEEVES
                            SIZE        MM #        PRICE        MM #           PRICE
                           X-Small     314088       $18.72      314097          $15.04
                            Small      314089       $18.72      314098          $15.04
                           Medium      314090       $18.72      314099          $15.04
                            Large      314091       $18.72      314100          $15.04
                           X-Large     314092       $18.72      314101          $15.04
                             2X        314093       $19.32      314102          $15.84
                             3X        314094       $19.32      314103          $15.84
                             4X        314095       $19.32      314104          $15.84
                             5X        314096       $21.87      314105          $17.90
                             6X        340050       $21.87      340053          $17.90
                             7X        340051       $21.87      340054          $17.90
                             8X        340052       $22.38      340055          $18.09




1-877-ORDER-CI                            www.cor.pa.gov/pci                                               IA8
         Case 2:24-cv-01608-WSS               Document 37-10         Filed 02/14/25        Page 13 of 22
                                                     TWILL WORK SHIRTS
      These long or short sleeved Cotton/Polyester twill shirts feature a button front, one pocket and DOC on the back.
      Available in White, Cocoa Brown (General Population), Royal Blue (MHU*), and Gray (Outside Service Unit). *To
      include SRTU, SAU, SOU, POC and MHU inmates.

                                                   MALE - LONG SLEEVES
                             WHITE               COCOA BROWN          ROYAL BLUE                      GRAY
          SIZE        MM #           PRICE       MM #      PRICE     MM #     PRICE               MM #     PRICE
          Small      314142          $14.64     314106      $18.28      314128       $15.05      314125       $13.64
         Medium      314143          $14.64     314107      $18.28      314129       $15.05      314126       $13.64
          Large      314144          $14.64     314108      $18.28      314130       $15.05      237779       $13.86
         X-Large     314145          $14.64     314109      $18.28      314131       $15.05      237778       $14.19
           2X        314146          $15.83     314110      $20.43      314132       $16.09      237777       $14.47
           3X        314147          $15.83     314111      $20.43      314133       $16.09      277756       $14.64
           4X        314148          $15.83     314112      $20.43      314134       $16.09      237776       $14.81
           5X        314149          $16.87     314113      $24.19      339961       $17.27      237775       $16.42
           6X        314150          $16.22     314114      $25.27      339962       $17.27      340295       $16.50
           7X        314151          $17.03     314115      $27.95      339963       $17.27      340296       $16.70
           8X        339007          $17.62     339004      $28.50      339964       $17.27      340297       $17.00
           9X        339008          $17.70     339005      $29.00      339965       $17.27      340298       $17.50
          10X        339006          $17.78     339003      $30.14      339966       $17.27      340299       $18.00


                                                  MALE - SHORT SLEEVES
                            WHITE               COCOA BROWN          ROYAL BLUE                       GRAY
          SIZE        MM#            PRICE      MAT’L#    PRICE     MM #     PRICE                MM #     PRICE
         Small       314152          $11.32     314116     $15.28       314135      $11.49       314127       $12.07
        Medium       314153          $11.80     314117     $15.28       314136      $11.49       237574       $14.13
         Large       314154          $11.86     314118     $15.28       314137      $11.49       237580       $14.13
        X-Large      314155          $12.14     314119     $15.28       314138      $11.49       238863       $14.13
           2X        314156          $12.44     314120     $16.36       314139      $12.79       237579       $14.67
           3X        314157          $12.58     200439     $16.36       314140      $12.79       277757       $14.90
           4X        314158          $12.72     314121     $16.36       314141      $12.79       317884       $14.90
           5X        314159          $13.95     314122     $20.65       339956      $13.96       237782       $14.90
           6X        314160          $14.56     314123     $21.45       339957      $13.96       340300       $14.97
           7X        314161          $14.92     314124     $22.26       339958      $13.96       340301       $15.37
           8X        339010          $15.23     339001     $22.50       339959      $13.96       340302       $15.63
           9X        339011          $15.59     339002     $23.00       339960      $13.96       340303       $15.90
          10X        339009          $16.18     339000     $24.99       340105      $13.96       340304       $16.70



                                     FEMALE - LONG SLEEVES
                                             WHITE
                                SIZE          MM #        PRICE
                                                                      SIZE         MM #        PRICE
                                Small         338868      $16.06
                                                                       4X         338864       $17.12
                               Medium         338867      $16.06
                                                                       5X         338865       $17.67
                                Large         338866      $16.06
                                                                       6X         340056       $18.41
                               X-Large        338869      $16.06
                                                                       7X         340057       $19.14
                                 2X           338862      $17.12
                                                                       8X         340058       $23.96
                                 3X           338863      $17.12




IA9                                                          “Teaching Inmates to Work in Pennsylvania”
          Case 2:24-cv-01608-WSS       Document 37-10        Filed 02/14/25       Page 14 of 22

                                      MEN’S LEATHER HIGH-TOP WORK BOOTS
                        Men’s boots are handcrafted from genuine leather to provide comfort and
                        extended wear. These high-top work boots are double-stitched with a
                        round toe. Available in Brown only and approved for inmate wear.

                                            E WIDTH                      EEE WIDTH
                           SIZE           MM #          PRICE          MM #           PRICE
                             6           312379         $48.43        291294          $48.91
                             7           312381         $48.43        312396          $48.91
                            7½           312382         $48.43        312397          $48.91
                             8           312383         $48.43        312398          $48.91
                            8½           312384         $48.43        312399          $48.91
                             9           312385         $48.43        312400          $48.91
                            9½           312386         $48.43        312401          $48.91
                            10           312387         $48.43        312402          $48.91
                           10½           312388         $48.43        312403          $48.91
                            11           312389         $48.43        312404          $48.91
                           11½           312390         $48.43        312405          $48.91
                            12           312391         $48.43        312406          $48.91
                            13           312392         $48.43        312407          $48.91
                            14           312393         $48.43        312408          $48.91
                            15           312394         $48.43        312409          $48.91




                                           WOMEN’S OXFORD SHOES
                      Women’s oxford style shoes are handcrafted from smooth leather with a
                      half-inch padded collar. Available in Medium Brown only, these shoes are
                      approved for Inmate Wear.


                                             E WIDTH                      EEE WIDTH
                            SIZE          MM #          PRICE           MM #           PRICE
                             6           320098         $44.11         320108          $44.45
                             7           320099         $44.11         320109          $44.45
                             8           320100         $44.11         320110          $44.45
                             9           320101         $44.11         320111          $44.45
                             10          320102         $44.11         320112          $44.45
                             11          320103         $44.11         320113          $44.45
                             12          320104         $44.11         320114          $44.45
                             13          320105         $44.11         320115          $44.45
                             14          320106         $44.11         320116          $44.45
                             15          320107         $44.11         320117          $44.45




1-877-ORDER-CI                     www.cor.pa.gov/pci                                             IA10
       Case 2:24-cv-01608-WSS           Document 37-10         Filed 02/14/25              Page 15 of 22

                                                              SHOE LACES
                                Brown shoe laces are the standard 46-inch length for PCI shoes and
                                boots. Sold as a pair.
                                                                           MM #                PRICE
                                                                          312855               $0.11


                                                  CUSHIONED SOLE INSERTS
                                    Replacement cushion sole inserts, sold by the dozen only.

                                          SIZE                 MM #                        PRICE
                                            6                 314418                       $16.74
                                            7                 314419                       $16.74
                                            8                 314420                       $16.74
                                           9                  314421                       $16.74
                                           10                 314422                       $16.74
                                           11                 314423                       $16.74
                                           12                 314424                       $16.74
                                           13                 314425                       $16.74
                                           14                 314426                       $16.74
                                           15                 314427                       $16.74



                                                                     TERRY SOCKS
                                    These mid-length socks are a 50/50 blend of cotton and polyester and feature
                                    a cushioned sole. Available for men in White or Natural color and in natural
                                    only for women.

                                                           WHITE                    NATURAL
                                                                   MALE
                                         SIZE        MM #          PRICE           MM #        PRICE

                                          9-13      314435         $.63           314433        $.53

                                         14-18      314436         $.66           314434        $.56
                                                               FEMALE
                                          5-8         --            --            314432       $0.46


                                          TUBE SOCKS
          These mid-length socks are a 50/50 blend of cotton and polyester and
          are One Size Fits All. Available in White only.
                                                                           MM #                     PRICE
                                                                           314437                   $.86


                                   ANKLET TUBE SOCKS
          These ankle-length socks are a 50/50 blend of cotton and polyester and are
          One Size Fits All. Available in White only.
                                                                            MM #                    PRICE
                                                                           326718                    $.83




IA11                                                    “Teaching Inmates to Work in Pennsylvania”
             Case 2:24-cv-01608-WSS              Document 37-10           Filed 02/14/25      Page 16 of 22

                 FLEECE SWEATSHIRT                                  SIZE          MM #        PRICE
   This knit fleece, crewneck sweatshirt features long              Small        328389       $17.03
   sleeves with rib knit waist and cuffs. Available in
   Cocoa Brown only, this sweatshirt is approved for               Medium        328390       $17.19
   Inmate Wear.                                                     Large        328391       $17.56
                                                                   X-Large       328392       $17.82
                                                                     2X          328393       $18.11
                                                                     3X          328394       $18.89
                                                                     4X          328395       $20.22
                                                                     5X          314202       $22.45
                                                                     6X          314203       $24.43
                                                                     7X          341939       $25.05
                                                                     8X          341940       $25.80
                                                                     9X          341941       $26.65
                                                                     10X         341942       $27.72
                DOC FLEECE SWEATSHIRT
   This knit fleece sweat shirt features long sleeves, a
   crewneck and rib knit waist and cuffs, with DOC on the
   back. Available in Red only.
                                                                          FLEECE SWEAT SHORTS
               SIZE         MM #        PRICE               These knit fleece sweat shorts feature a full-elastic
                                                            waist and are available in Cocoa Brown only.
               Small       314212       $17.83              Approved for Inmate Wear.
              Medium       314213       $17.83
               Large       314214       $18.39
              X-Large      314215       $18.67
                2X         314216       $18.98
                3X         314217       $20.17
                4X         314218       $20.47
                5X         314219       $21.03
                                                                       SIZE          MM #         PRICE
                                                                       Small        314227        $16.54
                 FLEECE SWEAT PANTS                                   Medium        314228        $17.36
   These Cocoa Brown, knit fleece sweatpants have a full               Large        314229        $18.20
   elastic waist, 2 pockets and elastic at the ankle.                 X-Large       314230        $18.75
   Approved for Inmate Wear.
                                                                          2X        314231        $19.83
                                                                          3X        314232        $20.76
                SIZE          MM #        PRICE                           4X        314233        $21.06
               X-Small       361631       $19.67
                                                                          5X        314234        $21.34
                Small        328382       $20.71
               Medium        328383       $21.25                          6X        314235        $22.18
                Large        328384       $21.43                          7X        314236        $22.18
               X-Large       328385       $22.06                          8X        339974        $22.18
                 2X          328386       $23.12
                 3X          328387       $23.54
                 4X          328388       $24.24
                 5X          314185       $24.82
                 6X          314186       $25.37
                 7X          314187       $26.13
                 8X          341936       $27.14
                 9X          341937       $28.62
                 10X         341938       $29.45


1-877-ORDER-CI                             www.cor.pa.gov/pci                                                       IA12
       Case 2:24-cv-01608-WSS            Document 37-10          Filed 02/14/25       Page 17 of 22
                                                  RED DOC T-SHIRTS
       This Red, Cotton/Polyester blend jersey knit, crewneck t-shirt has no pockets and is silk-screened with
       DOC on the back. Red DOC t-shirts are approved for Inmate Wear.

                                         SIZE           MM #          PRICE
                                         Small         314317         $9.45
                                        Medium         314318         $9.45
                                         Large         314319         $9.45
                                        X-Large        314320         $9.45
                                          2X           314321         $10.78
                                          3X           314322         $10.78
                                          4X           314323         $10.78
                                          5X           314324         $10.78
                                          6X           340198         $11.40
                                          7X           340199         $11.40
                                          8X           340200         $13.92




                                                  UNISEX UNDERSHIRTS
       This T-shirt style undershirt is made of a medium weight, Cocoa Brown, 50/50 Cotton/Polyester jersey knit
       material.
       Approved for male and female Inmate Wear.
       NOT AVAILABLE WITH DOC ON BACK PER POLICY




                                         SIZE           MM #          PRICE

                                         Small         314325         $6.86
                                        Medium         314326         $6.86
                                         Large         314327         $6.86
                                        X-Large        314328         $6.86
                                          2X           314329         $7.31
                                          3X           314330         $7.36
                                          4X           314331         $7.51

                                          5X           314332         $8.84

                                          6X           314624         $8.84

                                          7X           348528         $8.84

                                          8X           348529         $9.10
                                          9X           348530         $9.17
                                          10X          348531         $9.57




IA13                                                      “Teaching Inmates to Work in Pennsylvania”
              Case 2:24-cv-01608-WSS                Document 37-10        Filed 02/14/25       Page 18 of 22
                                                 WOMEN’S PANTIES
  Our 50/50 cotton/polyester blend Women’s panties feature a reinforced crotch and are available in Jersey
  Knit material with an elastic waistband and regular or elastic leg openings. Available in White only.


                                                            JERSEY KNIT
                                      REGULAR LEG OPENINGS          ELASTIC LEG OPENINGS

                         SIZE            MM #            PRICE        MM #            PRICE
                        Small           312968           $2.49       312976            $2.55
                       Medium           312969           $2.49       312977            $2.58
                        Large           312970           $2.50       312978            $2.61
                       X-Large          312971           $2.52       312979            $2.62
                         2X             312972           $2.87       312980            $2.93
                         3X             312973           $2.87       312981            $2.95
                         4X             312974           $2.87       312982            $2.95
                         5X             312975           $3.36       312983            $3.44
                         6X             338372           $3.36       338377            $3.44
                         7X             338373           $3.36       338378            $3.44
                         8X             338374           $3.51       338379            $3.60
                         9X             338375           $3.51       338380            $3.60
                         10X            338371           $3.60       338376            $3.60




                MEN’S UNDERWEAR                                                 MEN’S BOXER BRIEFS
   Men’s underwear is available in either Boxer or                    Men’s boxer briefs are available in a cot-
   Jockey style and is made from a cotton/polyester                   ton/polyester blend, White Rib Knit mate-
   blend featuring an elastic waistband and a fly-                    rial and feature short legs, a fly-front
   front opening. Men’s underwear is available in                     opening and an elastic waistband.
   White only.




                   BOXER                  JOCKEY                             SIZE     MM #      PRICE
      SIZE      MM #       PRICE        MM #     PRICE                       28/30   312413      $3.18
     Small      314347        $3.12    314357    $2.17                       32/34   312414      $3.18
    Medium      314348        $3.12    314358    $2.17                       36/38   312415      $3.18

     Large      314349        $3.12    314359    $2.17                       40/42   312416      $3.26
                                                                             44/46   312417      $3.53
    X-Large     314350        $3.12    314360    $2.17
                                                                             48/50   312418      $3.53
       2X       314351        $3.43    314361    $2.49
                                                                             52/54   312419      $3.53
       3X       314352        $3.43    314362    $2.49
                                                                             56/58   312420      $3.99
       4X       314353        $3.43    314363    $2.49
                                                                             60/62   312421      $3.99
       5X       314354        $4.06    314364    $2.83
                                                                             64/66   312422      $3.99
       6X       314355        $4.14    314365    $2.90
                                                                             68/70   338193      $4.41
       7X       314356        $4.26    314366    $2.90
                                                                             72/74   338194      $4.41
       8X       339072        $4.29    338317    $3.33
                                                                             76/78   338195      $4.41
       9X       339073        $4.37    338318    $3.33
      10X       339071        $4.41    338316    $3.33

1-877-ORDER-CI                                  www.cor.pa.gov/pci                                                 IA14
       Case 2:24-cv-01608-WSS            Document 37-10          Filed 02/14/25       Page 19 of 22
                                               MEN’S LONG JOHNS
        These 50/50 cotton/polyester blend, winter-weight long johns feature elastic waistbands and a fly-
        front with long-sleeved, crew neck tops. Men’s long johns are available in Natural color only.


                                      LONG JOHN TOPS
                           SIZE              MM #             PRICE
                           30/32            312866             $7.10

                           34/36            312867             $7.10
                           38/40            312868             $7.10
                           42/44            312869             $7.10

                           46/48            312870             $8.47
                           50/52            312871             $8.47
                           54/56            312872             $8.89
                           58/60            312873             $8.89
                           62/64            312874             $9.34
                           66/68            312875             $9.34
                           70/72            338366             $9.34
                           74/76            338367            $10.00
                           78/80            338368            $10.00
                           82/84            338369            $10.00



                                    LONG JOHN BOTTOMS
                           SIZE              MM #             PRICE
                           28/30            312856             $6.37

                           32/34            312857             $6.37
                           36/38            312858             $6.37
                           40/42            312859             $6.61
                           44/46            312860             $6.87
                           48/50            312861             $7.05
                           52/54            312862             $7.24
                           56/58            312863             $7.58
                           60/62            312864             $7.58
                           64/66            312865             $7.58

                           68/70            338363             $7.80

                           72/74            338364             $7.80

                           76/78            338365             $7.80




IA15                                                     “Teaching Inmates to Work in Pennsylvania”
              Case 2:24-cv-01608-WSS                   Document 37-10              Filed 02/14/25   Page 20 of 22
                                     INMATE BASEBALL CAPS
  A solid Twill cap with five panels for winter, or a Nylon Mesh cap with five panels for summer.
  Both styles have adjustable snaps and one size fits all. Available in Cocoa Brown or Light
  Gray. Approved for Inmate Wear.


          COLOR           MATERIAL              MM #       PRICE
        Cocoa Brown        Solid Twill      202107          $6.68
        Cocoa Brown       Nylon Mesh        312423          $6.98
         Light Gray        Solid Twill      319794          $6.76
         Light Gray       Nylon Mesh        319793          $6.95



                                                   SKI CAPS
   This 100-percent acrylic, stretchable rib knit fabric ski cap is available in Cocoa Brown or Gray.
   Approved for Inmate Wear. One size fits all.

                                  COLOR                MM #             PRICE
                               Cocoa Brown             200814           $1.62
                                   Gray                319795           $1.16



                                                   SCARVES
    Packed 12 per case, these 28” x 28” square rayon silk scarves are available in assorted colors
    and patterns.
                                          MM #                PRICE
                                          313037              $106.80



                                                HANDKERCHIEFS
    These Cotton/Polyester blend, White broadcloth handkerchiefs are 14” x 14” and are packed in
    lots of one dozen.


                                           MM #                 PRICE
                                          314416                $5.89




                                                SAFETY VESTS
    Made of soft polyester mesh in fluorescent yellow-green. Includes 2” lime yellow reflective
    strips around the waist and over each shoulder. Velcro closures allow for an adjustable, secure
    fit. DOC is also imprinted on the back of the vest. Approved for Inmate Wear.

                                         SIZE                     MM #          PRICE
                               Large (Fits up to 63”)            314367         $29.07
                              X-Large (Fits up to 70”)           314368         $30.99
                                 2X (Fits up to 76”)             314369         $32.81




1-877-ORDER-CI                                  www.cor.pa.gov/pci                                                  IA16
            Case 2:24-cv-01608-WSS                  Document 37-10          Filed 02/14/25         Page 21 of 22
                 TWILL WORK SHIRTS                         SIZE            MM #           PRICE            MM#      PRICE
       This cotton/polyester twill shirt features
                                                                    SHORT SLEEVES                    LONG SLEEVES
       a button front and one pocket and are
       available with short or longs sleeves.             Small           314135          $11.49          314128    $15.05
       Approved for Mental Health Population.            Medium           314136          $11.49          314129    $15.05
       Available in Royal Blue only with DOC              Large           314137          $11.49          314130    $15.05
       imprinted on the back.
                                                         X-Large          314138          $11.49          314131    $15.05
                                                           2X             314139          $12.79          314132    $16.09
                                                           3X             314140          $12.79          314133    $16.09
                                                           4X             314141          $12.79          314134    $16.09
                                                           5X             339956          $13.96          339961    $17.27
                                                           6X             339957          $13.96          339962    $17.27
                                                           7X             339958          $13.96          339963    $17.27
                                                           8X             339959          $13.96          339964    $17.27
                                                           9X             339960          $13.96          339965    $17.27
           SIZE          MM #         PRICE                10X            340105          $13.96          339966    $17.27
           Small        340021        $15.13
          Medium        340020        $15.13                           UNISEX HOBBY JEANS
           Large        340019        $15.13        Made of cotton/polyester twill, with a half-elastic waist.
          X-Large       340022        $15.13
            2X          340011        $15.29
            3X          340012        $15.29
            4X          340013        $15.29
            5X          340014        $15.65
            6X          340015        $15.65
            7X          340016        $15.65
            8X          340017        $15.65
            9X          340018        $15.65
            10X         340010        $15.65
                                                                            PATIENT GOWNS
           SIZE          MM #         PRICE            This pullover, knee-length gown is made from a cotton/
           Small        312711        $20.26           polyester blend poplin fabric, featuring short sleeves and
                                                       a V-neck.
          Medium        312712        $20.29
           Large        312713        $20.34
                                                       Approved for Mental Health Population. Available in
                                                       Royal Blue only with DOC imprinted on the back.
          X-Large       312714        $20.49
            2X          312715        $21.58
            3X          312716        $21.65
            4X          312717        $21.86


                                               TWO-PIECE PAJAMAS
        Cotton/polyester light-weight poplin pajamas with elastic waist pants are available with short
        or long sleeves.
        Approved for Mental Health Population. Available in Royal Blue only with DOC imprinted on
        the back.
                          SIZE         MM #                PRICE         MM#              PRICE
                                   SHORT SLEEVES                     LONG SLEEVES
                         Small           312898            $27.08         312891          $25.67
                        Medium           312899            $27.08         312892          $25.67
                         Large           312900            $27.08         312893          $25.67
                        X-Large          312901            $27.08         312894          $25.67
                           2X            312902            $28.61         312895          $26.96
                           3X            312903            $28.61         312896          $26.96
                           4X            312904            $28.61         312897          $26.96



IA17                                                                “Teaching Inmates to Work in Pennsylvania”
      Case 2:24-cv-01608-WSS     Document 37-10     Filed 02/14/25   Page 22 of 22




         This is a

                                                              catalog




1-877-ORDER-CI                 www.cor.pa.gov/pci
